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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

              v.                                                         23-CR-99


SCOTT BARNES,

                             Defendant,



          GOVERNMENT’S NOTICE OF MOTION TO EXTEND THE TIME
                   TO FILE PRE-TRIAL SUBMISSIONS


       PLEASE TAKE NOTICE that upon the annexed Affirmation of Stacey N. Jacovetti,

Assistant United States Attorney, the undersigned moves this Court to for an extension of four

days of the pre-trial submission deadlines listed in the Court’s pre-trial order. (Doc. 305).



       DATED:       Buffalo, New York, December 19, 2024.


                                                   TRINI E. ROSS.
                                                   United States Attorney


                                            BY:    s/STACEY N. JACOVETTI
                                                   Assistant United States Attorney
                                                   United States Attorney’s Office
                                                   Western District of New York
                                                   138 Delaware Avenue
                                                   Buffalo, New York 14202
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                                                   Stacey.Jacovetti@usdoj.gov
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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

              v.                                                         23-CR-99


SCOTT BARNES,

                             Defendants,



                   AFFIRMATION REGARDING MOTION TO
               EXTEND THE TIME TO FILE PRE-TRIAL SUBMISSIONS


STATE OF NEW YORK )
COUNTY OF ERIE    )                 SS:
CITY OF BUFFALO   )


       STACEY N. JACOVETTI, swears and affirms:



     1.       I am an Assistant United States Attorney duly appointed in the Western District

of New York and in that capacity, I have been assigned to handle this matter on behalf of the

Government.



     2.       I submit this affirmation in support of the Government=s motion to extend the

time for which the government, and the defense, have to file their pre-trial submissions.



     3.       Currently, this matter is set for a jury trial on January 27, 2025. According to

Court=s Pretrial Order, the parties are to file their pre-trial submissions on December 23, 2024,

with a pre-trial conference scheduled for Wednesday, January 22, 2025. Recently, at the
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parties’ request, the Court requested a change of plea hearing for defendant Barnes be scheduled

for December 27th at 10:00 a.m. The outcome of that hearing may affect the substance of the

government’s submissions, the need or lack of need for potential witnesses, the jury instructions

and potential arguments about the admission, relevance or need for certain items of evidence,

among other issues.



     4.       Counsel for the defendant Scott Barnes, David Cotter, Esq., consents to the

government’s extension request. Given the defendant’s consent, and the short nature of the

adjournment, the brief extension should not affect the remaining dates set in the Court’s

scheduling order and should also avoid the filing of successive amended pre-trial submissions.

The defendant already has a significant portion of the 3500/Jencks material in this case.



     5.       The government is requesting an extension of time within which to file pre-trial

submissions to Friday, December 27, 2024.



       WHEREFORE, the United States respectfully requests an extension of time, for all

parties to file their pre-trial submissions, until Friday, December 27, 2024.


                                            s/STACEY N. JACOVETTI
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                                            United States Attorney’s Office
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